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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA



                                                     )
     EVOLUTION LOGISTICS CORPORATION                 )
                                                     )
           Plaintiff,                                )                   Case No.
                                                     )
     vs.                                             )
                                                     )
      EFL GLOBAL LLC                                 )
                                                     )
           Defendant.                                )
                                                     )
     ________________________________________________/



                                                 COMPLAINT

            COMES       NOW,        Plaintiff,    EVOLUTION   LOGISTICS       CORPORATION

     (hereinafter “Evolution”), and sues Defendant, EFL GLOBAL LLC (hereinafter “EFL”),

     and alleges:

                         THE PARTIES, JURISDICTION AND VENUE

            1.      Plaintiff, Evolution Logistics Corporation, is a Florida corporation located

     at 9800 NW 100 Rd, Suite 1, Medley, FL 33178 and is a logistics provider and third-party

     transportation intermediary.

            2.      Defendant, EFL Global LLC, is a New York limited liability logistics

     services provider and is also a third-party transportation intermediary, with its principal

     place of business located at 1975 Linden Blvd., Suite 200, Elmont, NY 11003 with an

     office in Doral, Florida.




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             3.      This Court has subject matter jurisdiction over this action pursuant to 28

     U.S.C. § 1332(a)(1) as the matter in controversy exceeds the sum of $378,402.25, exclusive

     of attorney’s fees, interest, and costs, and the parties are citizens of different states.

             4.      Venue is proper in this District because the cause of action accrued in

     Miami-Dade County, FL, because both parties maintain a physical presence and business

     operations in this District, and because the sums claimed are payable in this District.

                                    GENERAL ALLEGATIONS

             5.      In June 2020, Plaintiff entered into an agreement with Defendant to perform

     the services of warehousing, devanning, segregation, marking, and redelivery, among other

     things, of personal/surgical protective gear at the instruction of and for the account of

     Defendant.

             6.      The services rendered by Plaintiff pursuant to this agreement (hereinafter

     referred to as “California Parkdale Project”) resulted in an account balance of $336,402.2

     5.

             7.      Rather than delivering the agreed thirty five (35) ocean containers per week

     for the services mentioned in (5) above, Defendant delivered seventy five (75) containers

     per week.

             8.      As a result of this unilateral modification of the terms of the original

     agreement by Defendant, it pre-approved an additional $42,000 per month rent and agreed

     to reimburse Plaintiff for leasing and staffing a second temporary warehouse facility to

     handle the overflow of goods.

             9.      Defendant accepted the benefit of the second warehouse but has refused to

     pay any of the promised reimbursement.




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             10.     Defendant has also failed to pay for additional staff and supplies such as

     pallets required to operate the additional warehouse.

             11.     Defendant at all times was indebted to Plaintiff for work performed on

     matters other than the California Parkdale Project.

             12.     Plaintiff has on a weekly basis demanded payment from Defendant for

     California Parkdale Project services and those services rendered on behalf of separate

     matters, and expenses advanced.

             13.     Despite numerous demands, to date, Defendant has failed to pay its

     obligations in the total amount of not less than $378,402.25, which remains due and owed

     to Plaintiff.

             14.     Defendant has further declared that a portion of the withheld funds still due

     under the agreement, $204,721.20, are being unilaterally retained by Defendant to make it

     whole for having paid the claim of third party against Defendant arising from a separate

     and distinct contract to which Plaintiff was not a party.

             15.     All conditions precedent to bringing this action have either been complied

     with or waived.

                       COUNT I – BREACH OF WRITTEN CONTRACT

             16.     Plaintiff repeats and realleges the allegations contained in paragraphs 1

     through 15 as fully set forth above.

             17.     Pursuant to an offer made by Evolution and accepted by EFL via emails,

     Defendant EFL hired Evolution to procure a warehouse in California, obtain equipment

     and staff to receive and unload 35 (thirty-five) ocean containers a week, segregate personal

     protective equipment (PPE) from those ocean containers according to destinations




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     specified by an Importer, Parkdale, and the Federal Emergency Management Agency

     (FEMA), and also arrange delivery to the specified destinations.

            18.     Defendant agreed to pay Plaintiff for all services rendered and expenses

     pursuant to a written agreement.

            19.     Plaintiff performed services and advanced expenses pursuant to its

     agreement with Defendant.

            20.     Despite Plaintiff’s performance of its obligations under the agreement with

     Defendant, Defendant breached its agreement with Plaintiff when it refused to pay, upon

     receipt of Plaintiff’s invoice, for Plaintiff’s services pursuant to the written agreement.

            21.     Plaintiff has made numerous demands upon Defendant, including sending

     Defendant Plaintiff’s invoice of fees and expenses. Despite this, Defendant has failed to

     pay and continues to refuse to pay.

            22.     As a result of Defendant’s breach of the agreement with Plaintiff (i.e.

     Defendant’s refusal to pay Plaintiff for its services), Plaintiff has been damaged in the

     amount not less than $378,402.255.

            23.     In addition to the principal amount outstanding, Defendant is obligated to

     Plaintiff for pre-judgment interest and costs,

            WHEREFORE, Plaintiff prays for judgment against Defendant, EFL, in the sum

     not less than $378,402.25 and any such further relief the court may deem appropriate.

                         COUNT II – BREACH OF ORAL CONTRACT

            24.     Plaintiff repeats and realleges the allegations contained in paragraphs 1

     through 23 as fully set forth above.

            25.     Soon after performance of the agreed services began, EFL began sending

     up to 75 (seventy-five) ocean containers per week for Defendant to handle despite the

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     original contract providing for the unloading of only 35 (thirty-five) ocean containers.

     Plaintiff notified Defendant repeatedly both orally and in writing that the warehouse

     dedicated to handle the containers had insufficient doors and space for the great overflow.

            26.     Plaintiff informed Defendant that an additional vacant warehouse with the

     capacity to relieve the overflow was located adjacent to the original warehouse and could

     be leased monthly for the sum of $42,000.

            27.     Defendant authorized Plaintiff to lease the warehouse and agreed to

     reimburse Plaintiff for all expenses incurred as a result.

            28.     Acting on the oral promise of Defendant, Plaintiff leased the additional

     warehouse.

            29.     Defendant has failed to reimburse Plaintiff for the expenses incurred on

     behalf of and at the request of Defendant in relation to the lease of an additional warehouse.

            30.     Plaintiff has made repeated demands upon Defendant, including sending

     Defendant Plaintiff’s statement and expenses, and despite this, Defendant has failed and

     continues to refuse to pay for the additional facility.

            31.     As a result of Defendant’s refusal to reimburse Plaintiff for expenses

     incurred on behalf of and at the request of Defendant, Plaintiff has been damaged in the

     amount of $42,000.00.

            WHEREFORE, Plaintiff prays for judgment against Defendant EFL in the sum of

     $42,000.00 together with interest, and any such further relief the court deems appropriate

     for the second warehouse lease.




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            COUNT III – BREACH OF CONTRACT IMPLIED IN LAW (“QUASI
                                  CONTRACT”)

             32.     Plaintiff repeats and realleges the allegations contained in paragraphs 1

     through 31 as fully set forth above.

             33.     Plaintiff argues in the alternative that it has conferred a benefit on Defendant

     EFL by renting a second temporary warehouse for $42,000.00, providing services and

     advancing expenses for labor and other expenses relating thereto for the benefit of EFL,

     for which EFL has failed and refuses to pay.

             34.     Defendant had and has knowledge of this benefit being conferred upon it by

     Plaintiff.

             35.     Defendant has accepted and retained the benefit conferred. Defendant

     received Plaintiff’s services and employed it for its use and benefit under a separate

     contract with a third party.

             36.     In accepting the benefit conferred upon it by Plaintiff, the circumstances are

     such that it would be inequitable for Defendant to retain the benefit without paying fair

     value for it.

             WHEREFORE, Plaintiff prays for judgment against Defendant EFL in the amount

     of $42,000.00, together with interest, costs and such further relief as the court deems

     appropriate for the second warehouse lease.

                                    COUNT IV – CONVERSION

             37.     Plaintiff repeats and realleges the allegations contained in paragraphs 1

     through 36 as fully set forth above.




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            38.     Plaintiff rendered services to Defendant. As a direct result of the services

     rendered by Plaintiff, Defendant collected on third-party contracts. Part of the funds

     collected rightfully belong to Plaintiff.

            39.     Defendant has appropriated monies owed to Plaintiff in the amount of

     $204,721.20 for the purpose of satisfying a claim made upon it by a third party, thus

     depriving Plaintiff of specific money to which Plaintiff possesses an immediate right to

     possess.

            40.     Defendant admitted its intention to deprive Plaintiff of these $204,721.20

     in written correspondence.

            41.     Plaintiff has repeatedly demanded the amount in question but Defendant has

     repeatedly refused to give this money to its rightful owner.

            42.     Although there is a contractual relationship between the parties,

     Defendant’s affirmative and intentional conversion of funds to which Plaintiff holds an

     immediate right to possess for the purposes of satisfying a claim brought solely upon

     Defendant by a third party goes beyond, and is independent from, a failure to comply with

     the terms of their contract.

            43.     As a result of Defendant’s conversion, Plaintiff has suffered damages in the

     amount of $204,721.20.

            WHEREFORE, Plaintiff prays for judgment of conversion against Defendant EFL

     in the sum of $204,721.20 together with interest, and any such further relief the court deems

     appropriate.

                                    COUNT V - ACCOUNT STATED

            44.     Plaintiff repeats and realleges the allegations contained in paragraphs 1

     through 43 as fully set forth above.


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            45.        Before the institution of this action, Plaintiff and Defendant had business

     transactions between them for which Plaintiff routinely invoiced Defendant.

            46.        Upon receipt by Defendant of said invoices for services rendered and

     expenses incurred by Plaintiff, Defendant did not object to the invoices within a reasonable

     period of time.

            47.        Defendant has failed to pay Plaintiff the total balance of the account stated

     in the invoices (copy attached).

            48.        Defendant owes Plaintiff not less than $378,402.25 for invoiced services

     that are due with interest since at least August 2020 including $42,000.00 for a second

     leased warehouse and expenses related thereto.

            WHEREFORE, Plaintiff prays for judgment against Defendant EFL in the sum of

     not less than $378,402.25, together with interest, and any such further relief the court

     deems appropriate.

     DATED: March 17, 2021

                                                     Respectfully submitted,



                                                     THE MOONEY LAW FIRM, LLC
                                                     /s/ Shanshan Liang
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